Case 1:16-cv-00680-MN Document 18 Filed 10/06/17 Page 1 of 11 PagelID #: 126

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

 

 

JEFFREY DEMOSS, :
Plaintiff, : CIVIL ACTION
: NO. 1:16-cv-680-GMS
v.
: SECOND AMENDED
DELAWARE STATE UNIVERSITY, ; COMPLAINT
IRENE CHAPMAN-HAWKINS, :
In her individual capacity, : Added language is underlined;
TERESA HARDEE, ; deletions appear in [brackets].
In her individual capacity, and :
HARRY L. WILLIAMS.
In his individual capacity.
Defendants.
JURY TRIAL DEMANDED
INTRODUCTION
i, This action for declaratory, injunctive and other appropriate relief is brought by Plaintiff

Jeffrey DeMoss to redress the intentional violations by Defendants Delaware State
University (“DSU”), and individual defendants Irene Chapman-Hawkins, Teresa Hardee,
and Harry L. Williams, of the rights secured to him by the laws of the United States of
America and the State of Delaware.
JURISDICTION

De Jurisdiction is conferred upon this court by the First and Fourteenth Amendments of the
Constitution of the United States and 42 U.S.C. § 1981, 1983, and 1985 which provide
original jurisdiction for Plaintiff's claims.

os The amount in controversy exceeds one hundred thousand dollars ($100,000).
Case 1:16-cv-00680-MN Document 18 Filed 10/06/17 Page 2 of 11 PagelID #: 127

VENUE

All actions complained of herein have taken place within the jurisdiction of the United
States District Court for the District of Delaware and involve a Defendant who resides
within the jurisdictional limits. Venue is accordingly invoked pursuant to the dictates of
28 U.S.C. § 1391(b) and (c).

PARTIES
Plaintiff Jeffrey DeMoss (“Plaintiff”) is an adult individual who currently resides at
31055 Harbor Lane, Painter, Virginia, 23420. At all times material, Plaintiff was
employed by the Defendant Delaware State University, until his termination of
employment on or about October 3, 2014. At all times material during his employment
with DSU, Plaintiff resided in the state of Maryland.
Defendant Delaware State University (““Defendant” or “DSU”) is a public university
located at 1200 No. DuPont Highway, Dover, Delaware 19901.
At all times material since approximately 2012, Teresa Hardee has served as Vice
President of Finance for DSU. Beginning in approximately 2015, Hardee also became
DSU’s Chief Operating Officer.
At all times material since approximately 2010, Harry Lee Williams has served as the
president of DSU.
At all times material since approximately 2014, Irene Chapman Hawkins served as

Senior Associate Vice President of Human Resources for DSU.
Case 1:16-cv-00680-MN Document 18 Filed 10/06/17 Page 3 of 11 PagelD #: 128

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DSU has at all times material received federal funds, a primary purpose of which has
been to provide employment and also to provide a non-discriminatory community of
students, faculty and employees.

FACTS
Delaware State University is a historically black college, where the vast majority of its
employees and students at all times material were African-American.
Plaintiff is a Caucasian male who was employed by DSU from July 9, 2007 to October 3,
2014, as its Executive Director for Dining and Auxiliary Services.
Plaintiff previously worked as an Executive Director, Director, or Associate Director of
Dining Services for four different universities for approximately 36 years, from 1978 to
2014.
Plaintiff had been recruited from the University of Kentucky to DSU by DSU’s
Executive Vice President Amir Mohammadi to create a new Department of Auxiliary
Services.
Plaintiff took a pay decrease to take said position with DSU.
Plaintiff's duties at the outset of his employment with DSU included serving as a contract
liaison for dining services, the campus bookstore, the copy/post office, concessions, and
university transportation programs.
At all times material, Plaintiff's direct supervisor was Amir Mohammadi.
In January of 2010, Plaintiff was also named operations director of the Martin Luther

King, Jr. Student Center, as an added duty.
Case 1:16-cv-00680-MN Document 18 Filed 10/06/17 Page 4 of 11 PagelID #: 129

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Around that same time, on January 10, 2010, Harry Lee Williams became the 10th
president of DSU.

For the last three years of his employment, Plaintiff received the highest possible scores
on his performance evaluations from DSU. Plaintiff also received the “Vice President’s
Award for Excellence” from DSU in September 2013.

In August 2014, Plaintiff began reporting to the new Vice President of Finance, Dr.
Teresa Hardee, an African-American female in her late 40's.

Dr. Hardee did not properly supervise Plaintiff, and rarely even spoke to Plaintiff.

On September 19, 2014, in the fall semester, Senior Associate Vice President of Human
Resources Irene C. Hawkins, an African-American female, informed Plaintiff in person
and in writing that Plaintiff's employment would be terminated in two weeks, effective
October 3, 2014.

There was no legitimate reason for Plaintiff's termination, which was motivated by an
intent to discriminate against Plaintiff on the basis of his race.

As set forth below, race was a motivating factor in Plaintiff's termination.

Shortly before Plaintiff was informed of his discharge, a DSU Board Member told
Plaintiff, "It seems like the white people are being let go."

The stated reason for Plaintiff's termination by the University was that it was part of "a
substantial reorganization effort."

However, this was pretext, in that such a “reorganization effort” was not in fact occurring

and/or did not require the elimination of Plaintiff's position.
Case 1:16-cv-00680-MN Document 18 Filed 10/06/17 Page 5 of 11 PagelD #: 130

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In fact, Plaintiff's position continues to this day, and is being performed by African-
American women who have received raises to perform said duties. Thus, the duties
previously performed by Plaintiff and the salary previously paid to Plaintiff have not in
fact been eliminated.

Upon ‘siformation and belief, the decision to terminate Plaintiff was made by Dr. Teresa
Hardee and DSU President Harry L. Williams, an African-American male.

This decision to terminate Plaintiff was actually made in order to remove Plaintiff — a
Caucasian man — in favor of African-Americans.

This motive is supported by the fact that other Caucasian employees were treated
similarly as Plaintiff, and other African-American employees were treated more
favorably.

Similar to Plaintiff[ly], on October 28, 2014, President Williams announced Vice
President of Advancement and Development Carolyn Curry, a 62 year old Caucasian
female employee with ten years of service, had been relieved of her duties.

Various other acts by DSU prove that its termination of Plaintiff was discriminatory, not
in good faith, and not done for any legitimate organizational purpose.

For example, DSU’s practice was to give managers thirty days’ notice before letting them
go or eliminating their jobs. Moreover, DSU’s custom and practice was to only eliminate
positions at the end of the academic year, which occurs on June 30" of each year.

Thus, DSU always told employees on or before May 31“ of each year if they were being

let go and if their contract was not being renewed.
Case 1:16-cv-00680-MN Document 18 Filed 10/06/17 Page 6 of 11 PagelD #: 131

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However, contrary to said practice, Plaintiff's employment was terminated effective
October 3, 2014, at the beginning of the semester and academic year, and with only two
weeks’ notice.

DSU discharged Plaintiff two and a half months into the new fiscal year that began July
1, 2014, and nine and a half months before the end of fiscal year that ends June 30, 2015.
Moreover, African-American managers who were employed at the beginning of the fiscal
year were retained through that same fiscal year ending June 30", contrary to how
Plaintiff was terminated mid-year. Per the University’s practice, which was not provided
to Plaintiff, employees who were employed at the start of the fiscal year on July 1
remained employed through the end of the fiscal year.

Thus, Defendants complied with University practice with regard to African-American

employees, but deviated from said practice when handling the termination of Plaintiff and

another Caucasian employee. This departure from typical practice is further evidence of a
discriminatory intent.

Moreover, in discharging Plaintiff, DSU retained three significantly younger, similarly
situated females: 1) Student Center Director Jordan Schaffer, a Caucasian female in her
30's, married to an African-American male; 2) Michelle Martin, an African-American
female in her late 40's or early 50's; 3) Michelle Fisher, an African-American female.
These individuals, who held the same type of position as Plaintiff, were not only
permitted to remain as employees, but were promoted to associate vice president — the

same type of position that Plaintiff held - shortly thereafter.
Case 1:16-cv-00680-MN Document 18 Filed 10/06/17 Page 7 of 11 PagelD #: 132

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This is further evidence of an intent to discriminate against Plaintiff by removing him and
installing African-American employees in his place.

Further, there are at least five African-American managers whose jobs were eliminated,
but DSU placed these African-Americans in other jobs within the HR and/or Finance
Departments. No such offer of placement was made to Plaintiff as part of the alleged
reorganization plan. Again, similarly-situated African-American employees were treated
more favorably than how Plaintiff was treated.

Similarly, when DSU sought to terminate the employment of Vice President of Student
Affairs Kemal Atkins, an African-American male, DSU merely asked Atkins to resign, it
gave him several months of advance notice, it allowed Atkins to conduct a job search
during work time at his DSU office, and provided Atkins with a farewell reception. DSU
did not provide such a reception to Carolyn Curry or Plaintiff. Once again, similarly-
situationed African-American employees were treated more favorably than how Plaintiff
and another terminated Caucasian employee were treated.

President Williams called Plaintiff a “fat fuck” and an “asshole” on numerous occasions.
Williams falsely stated that Plaintiff “doesn’t get along with black people”. These
statements were made in order to pretextually terminate Plaintiff, and Williams’ reference
to race is further proof that Plaintiff's status as Caucasian was a motivating factor in
terminating Plaintiff

As aresult of the above discrimination, Plaintiff was terminated, resulting in a loss of

salary of $96,000 plus benefits.
Case 1:16-cv-00680-MN Document 18 Filed 10/06/17 Page 8 of 11 PagelD #: 133

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Moreover, Plaintiff suffered pain, suffering, emotional distress, and other lost wages,
back pay, front pay, benefits, and loss of life’s pleasures.
The discrimination of defendant directly and proximately caused said damages.
COUNT I —- EQUAL PROTECTION
42 U.S.C. § 1983
PLAINTIFF V. INDIVIDUAL DEFENDANTS
Plaintiff incorporates the above paragraphs by reference
Individual defendants violated the provisions of 42 U.S.C. § 1983, in that Defendant,
acting under color of State law, deprived Plaintiff of the privileges and immunities
secured to him by the First and Fourteenth Amendments of the United States Constitution
and, in particular, his right to be free from discrimination on the basis of race and/or
gender.
Defendants actions violated Plaintiffs rights under the Equal Protection clause of the

Fourteenth Amendment to the United States Constitution.

WHEREFORE, Plaintiff respectfully requests this Honorable Court:

a. Reinstate Plaintiff to his former position.

b. Enter a declaratory judgment that Defendant’s acts complained of herein
have violated and continue to violate the rights of Plaintiff.

b. Award Plaintiff compensatory damages including but not limited to: pain,
suffering, past economic loss, future economic loss, back pay, front pay,
loss of life’s pleasures, loss of reputation, benefits, emotional distress and
other damages;

é. Award reasonable costs and attorneys’ fees;
Case 1:16-cv-00680-MN Document 18 Filed 10/06/17 Page 9 of 11 PagelD #: 134

Award punitive damages; and
Grant any other relief this Court deems just and proper under the
circumstances.

COUNT II —- RACE DISCRIMINATION

42 U.S.C. § 1981
PLAINTIFF V. INDIVIDUAL DEFENDANTS

52. Plaintiff incorporates the above paragraphs by reference

53. Defendants violated the provisions of 42 U.S.C. § 1981, in that Defendants, acting under

color of State law, deprived Plaintiff of the privileges and immunities secured to him by

the First and Fourteenth Amendments of the United States Constitution and, in particular,

his right to be free from discrimination on the basis of race.

54. Defendant’s actions violated Plaintiff’s rights under 42 USC 1981.

WHEREFORE, Plaintiff respectfully requests this Honorable Court:

a.

b.

Reinstate Plaintiff to his former position.

Enter a declaratory judgment that Defendant’s acts complained of herein
have violated and continue to violate the rights of Plaintiff.

Award Plaintiff compensatory damages including but not limited to: pain,
suffering, past economic loss, future economic loss, back pay, front pay,
loss of life’s pleasures, loss of reputation, benefits, emotional distress and
other damages;

Award reasonable costs and attorneys’ fees;

Award punitive damages; and
Case 1:16-cv-00680-MN Document 18 Filed 10/06/17 Page 10 of 11 PagelD #: 135

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Grant any other relief this Court deems just and proper under the

circumstances.

COUNT III - RACE DISCRIMINATION
42 U.S.C. 2000d (“Title VI”)

PLAINTIFF. V. DEFENDANT DELAWARE STATE UNIVERSITY

Plaintiff incorporates the above paragraphs by reference

Defendant DSU receives federal funding and has received federal funding at all times

material. A primary purpose this funding has been to provide employment and also to

provide a non-discriminatory community of students, faculty and employees.

Defendants discriminated against Plaintiff on the basis of race.

Defendants’ actions violated 42 USC 2000d, also known as Title VI of the Civil Rights

Act of 1964.

WHEREFORE, Plaintiff respectfully requests this Honorable Court:

a.

b.

Reinstate Plaintiff to his former position.

Enter a declaratory judgment that Defendant’s acts complained of herein
have violated and continue to violate the rights of Plaintiff.

Award Plaintiff compensatory damages including but not limited to: pain,
suffering, past economic loss, future economic loss, back pay, front pay,
loss of life’s pleasures, loss of reputation, benefits, emotional distress and
other damages;

Award reasonable costs and attorneys’ fees;

Award punitive damages; and

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Case 1:16-cv-00680-MN Document 18 Filed 10/06/17 Page 11 of 11 PagelD #: 136

i: Grant any other relief this Court deems just and proper under the

circumstances.

JOSEPH W. BENSON, P.A.

/s/ Andrew G. Ahern III
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Dated: October 6, 2017

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